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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


J.G.G., et al.,

Plaintiffs–Petitioners,

                               v.                                 Case No: 1:25-cv-00766-JEB

DONALD J. TRUMP, in his official capacity as
President of the United States, et al.,

Defendants–Respondents.


                           DECLARATION OF OSCAR SARABIA ROMAN

        I, Oscar Sarabia Roman, declare as follows:

        1. I am over eighteen years of age and am competent to make this declaration.

        2. I am a lawyer at the American Civil Liberties Union Immigrants’ Rights Project. I represent

            the Plaintiffs in this case.

        3. I have spoken with W.G.H.’s attorney who informed me that she spoke with W.G.H.’s wife

            on March 16, 2025. W.G.H. reported to his wife that he was on the bus of detainees who were

            transported to the airport on March 15, 2025. ICE officers pulled him off of the flight and

            brought him back to El Valle Detention Center. His attorney has sent numerous emails to El

            Valle Detention Center to set up a call but no one at the facility has responded.

        4. Attached hereto as exhibits are true and correct copies of the following:


Exhibit Document

 1.       Camilo Montoya-Galvez, U.S. Sending Nonviolent, “Low-Risk” Migrants to
          Guantanamo, Despite Vow to Detain the Worst of the Worst, CBS News (Feb. 12, 2025),
          available at https://www.cbsnews.com/news/guantanamo-bay-migrants-trump/.

 2.       Syra Ortiz Blanes, Veronica Egui Brito & Claire Healy, Trump Sent These Venezuelans
          to El Salvador Mega Prison. Their Families Deny Gang Ties, Miami Herald (Mar. 18,
          2025), available at

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          https://www.miamiherald.com/news/local/immigration/article302251339.html.

 3.       Didi Martinez, Daniella Silva & Carmen Sesin, Families of Deported Venezuelans Are
          Distraught Their Loved Ones Were Sent to El Salvador, NBC News (Mar. 19, 2025),
          available at https://www.nbcnews.com/news/us-news/families-deported-venezuelans-
          are-distraught-loved-ones-sent-el-salvad-rcna196950.

 4.       Jazmine Ulloa & Zolan Kanno-Youngs, Trump Officials Say Deportees Were Gang
          Members. Few Details Were Disclosed, N.Y. Times (Mar. 18, 2025), available at
          https://www.nytimes.com/2025/03/18/us/trump-deportations-venezuela-gang.html.

 5.       Annie Correal, Venezuelan Families Fear for Relatives as Trump Celebrates
          Deportations, N.Y. Times (Mar. 16, 2025), available at
          https://www.nytimes.com/2025/03/16/world/americas/el-salvador-venezuela-
          deportations-families.html.

 6.       Sarah Kinosian & Kristina Cooke, Relatives of Missing Venezuelans Desperate for
          Answers After US Deportations to El Salvador, Reuters (Mar. 17, 2025), available at
          https://www.reuters.com/world/americas/relatives-missing-venezuelan-migrants-
          desperate-answers-after-us-deportations-el-2025-03-17/.

 7.       Camilo Montoya-Galvez, Trump Invokes 1798 Alien Enemies Act, orders deportation of
          suspected Venezuelan gang members, CBS News (Mar. 16, 2025), available at
          https://www.cbsnews.com/news/trump-invokes-1798-alien-enemies-act/.

 8.       Tim Padgett, Was a Venezuelan Deported as a Terrorist Because of a Tattoo Celebrating
          His Child, WLRN (Mar. 19, 2025), available at
          https://www.wlrn.org/immigration/2025-03-19/venezuelan-deportation-trump-tren-de-
          aragua-tattoo.


I hereby declare under penalty of perjury of the laws of the United States that the foregoing is true

and correct to the best of my knowledge and belief.

        Executed on 19th of March, 2025, in San Francisco, California.

                                                        _________________________
                                                        Oscar Sarabia Roman




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Families of deported Venezuelans are distraught their
loved ones were sent to El Salvador
   nbcnews.com/news/amp/rcna196950

Didi Martinez, Daniella Silva, Carmen Sesin                                             March 19, 2025


SHARE THIS —

Relatives of recently deported Venezuelan immigrants said they were anguished and
shocked to discover their loved ones were sent to a notorious mega-prison in El Salvador
after they recognized them in a social media video.

The families strongly deny that their relatives are connected to the Venezuelan gang known
as Tren de Aragua, a claim the Trump administration has used to justify their quick
deportations under a rarely used law from 1798, the Alien Enemies Act. They say their family
members have been falsely accused and targeted because of their tattoos.

The families also said they never expected their loved ones to be sent to a massive prison in
El Salvador instead of their home country, Venezuela.

The White House said in a statement Tuesday that it was “confident in DHS intelligence
assessments on these gang affiliations and criminality,” adding that the Venezuelan
immigrants who were removed from the United States had final orders of deportation.

“This administration is not going to ignore the rule of law,” the statement said.




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       Relatives of Mervin Yamarte, 29, say he enjoyed playing recreational soccer with friends in
                                  Texas.Courtesy Mercedes Yamarte

Relatives of Mervin Yamarte, 29, said they were horrified to see him in a social media video
showing men shackled as authorities dragged them from planes and shaved their heads in
preparation to take them to prison.

The men were sent to the Terrorism Confinement Center, a lockup known for allegations of
human rights abuses. Human rights organizations such as Human Rights Watch and
Amnesty International have documented issues including extreme overcrowding and torture
at the prison.

The video, released by Salvadoran President Nayib Bukele, claims the men were
Venezuelan gang members deported from the United States.

Anayel Miquelina, a relative of Yamarte’s, told Telemundo that Yamarte’s mother and wife
were distraught when they saw him in the video with his shirt ripped and head shaved.

“They fainted. They started screaming,” she said.

The Trump administration announced the deportations this weekend of hundreds of
immigrants it alleged were members of the gang to El Salvador under the Alien Enemies Act,
which allows the president to deport noncitizens during wartime.

In court documents, an official with Immigration and Customs Enforcement said Monday that
many of those who were removed from the United States under the Alien Enemies Act “do
not have criminal records in the United States.”

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The official said that “the lack of specific information about each individual actually highlights
the risk they pose” and that the government does not have a “complete profile” of alleged
gang members who were deported to El Salvador.

Yamarte’s family said that he had an open asylum case with a hearing set for July and that
he does not have a criminal record and was not connected to Tren de Aragua.

A check of criminal records in the city of Irving, Dallas County and the state of Texas, as well
as federal court records, by NBC News did not find any charges or convictions for Yamarte.
The Department of Homeland Security did not respond to a request for more information on
whether he had a criminal background.

“We didn’t come to do harm to anybody. It’s not fair that because of a tattoo they involve us
with a very crooked criminal gang,” said Juan Yamarte, his brother.




Juan Yamarte said his brother has the same tattoo as a soccer player he admires and the
number 99 — the number he has used as a member of a recreational soccer team. He also
has tattoos of his mother’s and daughter’s names, as well as the date he and his partner
began dating, another brother told Telemundo. None of his tattoos are gang-related, the
family said.

Juan Yamarte said his brother had been in the United States for more than a year before
immigration officials took him last week at a home he shared with several other people.

“They grabbed him. They cuffed him all at once when he said, ‘Why are you taking me, too, if
I haven’t done anything?’” he said.


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On Monday, Yamarte’s family and others in his hometown, Maracaibo, Venezuela, held a
protest and a prayer vigil.

Several other families told NBC News they believe they saw their relatives in the video
released by El Salvador. They claim their loved ones have been falsely accused of having
gang connections.




                              Fritzgeralth De Jesus.Family photo




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“He is a good kid. He has never committed a crime; he doesn’t have a criminal record,” the
sister of Fritzgeralth De Jesus, one of the Venezuelans she says was deported to El
Salvador, said as she cried uncontrollably. “He is young, hard-working and an athlete.”

De Jesus’ sister, who asked not to be identified because of fear of deportation, said she
received a call from her brother, who had been detained by ICE officials, on Saturday “to say
goodbye” because he was going to be deported to Venezuela.

Recommended

She grew increasingly worried when she did not hear from him, and she
began to scour the internet hoping to find a clue to where he could be. She
said she spotted him in Bukele’s video, which had gone viral on social media.

De Jesus, 25, entered the United States through the CBP One app in June,
along with three other relatives, his sister said. The three family members
were released into the United States right away, but De Jesus was sent to an immigration
detention center in New Orleans, where he remained until he was deported, she said. It is
unclear why De Jesus was detained; his family believes it may have been because of his
tattoos.

“They detained him just because he has tattoos,” De Jesus’ sister said. “From the beginning,
they asked constantly about his tattoos. They would ask him if he was a member of the
criminal gang, Tren de Aragua, and he always said no.”

She said none of her brother's tattoos are gang-affiliated. Some of the more prominent ones
include rose art on his neck and arm, an angel on his chest and a tattoo that says “mom” on
his chest.

De Jesus had left Venezuela because “colectivos,” armed paramilitary groups that support
President Nicolás Maduro, were harassing and extorting him, his sister said.

Joseph Giardina, an attorney based in Baton Rouge, Louisiana, who is representing De
Jesus in his asylum case, was stunned to learn his client had been deported to El Salvador.
The final hearing in his asylum case was scheduled for April 10.

When Giardina heard De Jesus had been deported, he checked online and saw that his
asylum hearing was still pending. He thought there must have been a mix-up.

“With a pending asylum application and a trial, that would make absolutely no sense,”
Giardina said. “I’ve been doing this for years. That’s not how it works.”

“He has been in proceedings for months. The government has never filed an I-213, which
would indicate any criminal background. They have never filed any evidence of any kind of
criminal history,” Giardina said.

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     Men alleged to be members of the Venezuelan criminal organization Tren de Aragua who were
     deported from the United States arrive in Tecoluca, El Salvador, in a photo released Sunday.El
                      Salvador's Presidency Press Office via AFP - Getty Images

Mirelys Casique told Telemundo her family recognized her son, Francisco García Casique, in
a photo released by the government of El Salvador. She said that while the man in the image
was looking down, the family was able to identify him because of his tattoos.

“He’s not a criminal. He has no criminal record,” she said, adding that if the government was
going to deport her son, “they should send him back to his country of origin.”

Trump invoked the Alien Enemies Act this weekend, and on Saturday, a federal judge issued
a restraining order blocking him from using it to justify the deportations and ordered any
planes that were already in the air to turn around.

In court documents, officials said three planes left the United States after Trump issued his
proclamation, raising questions about the timing of the flights and the custody handover.

A federal judge reviewing the case Tuesday asked the administration for further details about
the flights and which immigrants were deported solely based on the Alien Enemies Act.

The Venezuelan government has since publicly condemned the detention of its citizens in El
Salvador and issued a travel warning to those in the United States and those planning to
travel abroad.




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“We are calling on the international community to stay alert against these practices that serve
against human dignity and the principles of international rights,” Venezuela’s Foreign Affairs
Ministry said in a statement Monday.




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 Trump Officials Say Deportees Were Gang
 Members. Few Details Were Disclosed.
 Families and immigration lawyers argue not all of the deportees sent to a prison
 in El Salvador over the weekend had ties to gangs.


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 By Jazmine Ulloa and Zolan Kanno-Youngs
 Jazmine Ulloa and Zolan Kanno-Youngs reported from Washington, D.C.
 Published March 18, 2025        Updated March 19, 2025, 11:34 a.m. ET


 In the days since the federal government sent hundreds of Venezuelan immigrants
 to a prison in El Salvador, Washington has been debating whether the White House
 did indeed defy a federal judge who ordered the deportation flights to turn around
 and head back to the United States.

 But beyond the Trump administration’s evident animus for the judge and the court,
 more basic questions remain unsettled and largely unanswered: Were the men
 who were expelled to El Salvador in fact all gang members, as the United States
 asserts, and how did the authorities make that determination about each of the
 roughly 200 people who were spirited out of the country even as a federal judge
 was weighing their fate?

 The Trump White House has said that most of the immigrants deported were
 members of the Venezuelan gang Tren de Aragua, which, like many transnational
 criminal organizations, has a presence in the United States. Amid the record
 numbers of migrants arriving at the southern border in recent years, the gang’s


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 presence in some American cities became a rallying cry for Donald J. Trump as he
 campaigned to return to the White House, claiming immigrants were invading the
 country.

 After Mr. Trump returned to power in January, Tren de Aragua remained a regular
 talking point for him and his immigration advisers, and the deportation flights last
 week were the administration’s most significant move yet to make good on its
 promise to go after the gang. But officials have disclosed little about how the men
 were identified as gang members and what due process, if any, they were accorded
 before being placed on flights to El Salvador, where the authoritarian government,
 allied with Mr. Trump, has agreed to hold the prisoners in exchange for a
 multimillion-dollar payment.

 The Justice Department refused to answer basic inquiries on Monday about the
 deportations from the federal judge in Washington, D.C., who had ordered the
 deportation flight to return to the United States. On Tuesday afternoon, he ordered
 the Justice Department to submit a sealed filing by noon on Wednesday detailing
 the times at which the planes had taken off, left American airspace and ultimately
 landed in El Salvador.

 More than half of the immigrants deported over the weekend were removed using
 an obscure authority known as the Alien Enemies Act of 1798, which the Trump
 administration says it has invoked to deport suspected Venezuelan gang members
 age 14 or older with little to no due process. The rarely invoked law grants the
 president broad authority to remove from the United States citizens of foreign
 countries whom he defines as “alien enemies,” in cases of war or invasion.

 In a court document it filed on Monday night after the hearing, Robert L. Cerna II,
 a senior Immigration and Customs Enforcement official, asserted that each of the
 individuals had been investigated and vetted and that those efforts had involved
 surveillance data, a review of financial transactions and interviews with victims.

 But a number of questions were raised by Mr. Cerna’s filing, in which he said an
 ICE database showed that some of those sent to El Salvador under the Alien
 Enemies Act had been arrested and convicted in the United States “for dangerous
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 offenses” and that others had convictions outside the country.

 Mr. Cerna also acknowledged, though, that “many” did not have criminal records in
 American courts, though he said that did not mean they would “pose a limited
 threat.” Still others were said to have been in proximity to Tren de Aragua
 members during law enforcement raids on vehicles and residences when they
 were caught in the dragnet.

 A growing chorus of families, elected officials and immigration lawyers have begun
 coming forward in the news media to reject or cast doubt on the allegations. Some
 lawyers — sent into frantic searches for their clients in detention centers across
 the country — believe their clients have been singled out simply for their tattoos.
 Immigration lawyers in New York were able to stop the deportation of at least one
 Venezuelan who they said had no ties to the gang.

 Lindsay Toczylowski, a lawyer with the Immigrant Defenders Law Center, said her
 client was a young professional in his 30s who worked in the arts industry and had
 been in detention since he sought entry into the United States last year, when he
 applied for asylum using an online government app, CBP One. She said her client
 had come under suspicion because of his tattoos, but his lawyers had not been
 given the opportunity to counter the claims through a court hearing.

 He was transferred earlier this month from California to Texas, she said, and by
 Saturday, he had disappeared from the online detainee locator.

 “Our client is proof that they didn’t do the due diligence to understand who they
 were sending to El Salvador at all,” she said, declining to name the young man out
 of concern for his safety.

 Some Democrats have not just accused the Trump administration of violating a
 court order but have also questioned whom the administration sent to El Salvador
 to be imprisoned.

 “The Trump administration is deporting immigrants without due process based
 solely on their nationality,” Senator Dick Durbin, Democrat of Illinois, said in a
 statement on Monday. “Courts determine whether people have broken the law. Not
https://www.nytimes.com/2025/03/18/us/trump-deportations-venezuela-gang.html                                                       3/5
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 a president acting solo.”

 More than 260 people deported to El Salvador over the weekend included 137
 people removed through the Alien Enemies Act. An additional 101 were
 Venezuelans were deported under normal immigration proceedings, according to
 Trump administration officials.

 Lawyers and legal experts said that even under wartime conditions, detainees are
 entitled to due process.

 “The Alien Enemy Act expressly provides for ‘a full examination and hearing’
 before noncitizens can be removed under the statute,” Stephen Vladeck, a
 professor of law at the Georgetown University Law Center, said in an email. “Even
 in the middle of the Second World War, federal courts would hold hearings to
 determine if alleged alien enemies were, in fact, citizens of countries with which
 we’re at war.”

 The government of Venezuela has forcefully condemned the transfer of
 Venezuelans to El Salvador and the use of the wartime authority by the Trump
 administration. In a statement on Sunday, the government of Nicolás Maduro
 denounced what he called the “threat of kidnapping” of minors as young as 14 by
 labeling them as terrorists, claiming that they are “considered criminals simply for
 being Venezuelan.”

 Mariyin Araujo, 32, said the father of her two daughters, 2 and 6, had fled
 Venezuela after he participated in two demonstrations against Mr. Maduro’s
 authoritarian government. On the second occasion, he and other protesters were
 captured and tortured, with electric shocks and suffocation. He registered through
 the CBP One application in Mexico and was detained in San Diego when he
 presented himself for his appointment, Ms. Araujo said.

 He was a professional soccer player and coach, and he had a tattoo on his arm of a
 crown atop a soccer ball. Ms. Araujo said that immigration officials associated the
 crown with the Venezuelan gang and that they had submitted documents showing
 that her ex-husband had no criminal history, along with photographs and letters

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 from his employer to show he was a law-abiding citizen. But before his case had
 been decided, he called to tell her they were moving him to a detention center in
 Texas.

 She did not know his whereabouts until she recognized him in a photo on social
 media, she said. He was sitting on the floor with his head bowed down in a white
 prison uniform with other detainees in El Salvador. She has tried to reach out to
 prison officials there, but she has since learned the facility where he is being held is
 notorious for not allowing phone calls or family visits.

 “There was something inside of me that held out hope that it would not be him, but
 it was him,” she said. “He is not a criminal.”
 Annie Correal and Luis Ferré-Sadurní contributed reporting.

 Jazmine Ulloa is a national politics reporter for The Times, covering the 2024 presidential campaign. She is
 based in Washington. More about Jazmine Ulloa

 Zolan Kanno-Youngs is a White House correspondent for The Times, covering President Trump and his
 administration. More about Zolan Kanno-Youngs




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                EXHIBIT 5
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 Venezuelan Families Fear for Relatives as
 Trump Celebrates Deportations
 The news that hundreds of migrants were headed to an El Salvador prison
 caused panic for some Venezuelans, who worried that their loved ones might be
 among them.

             By Annie Correal
             Reporting from Mexico City

 March 16, 2025



 Mirelis Casique’s 24-year-old son last spoke to her on Saturday morning from a
 detention center in Laredo, Texas. He told her he was going to be deported with a
 group of other Venezuelans, she said, but he didn’t know where they were headed.

 Shortly after, his name disappeared from the website of the U.S. immigration
 authorities. She has not heard from him since.

 “Now he’s in an abyss with no one to rescue him,” Ms. Casique said on Sunday in
 an interview from her home in Venezuela.

 The deportation of 238 Venezuelans to El Salvador this weekend has created panic
 among families who fear that their relatives are among those handed over by the
 Trump administration to the Salvadoran authorities, apparently without due
 process.

 The men were described by the White House press secretary, Karoline Leavitt, as
 “terrorists” belonging to the Tren de Aragua gang. She called them “heinous
 monsters” who had recently been arrested, “saving countless American lives.” But
 several relatives of men believed to be in the group say their loved ones do not
 have gang ties.



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 On Sunday, the Salvadoran government released images of the men being marched
 into a notorious mega-prison in handcuffs overnight, with their heads newly
 shaven.

 Like other Venezuelan families, Ms. Casique has no proof that her son, Francisco
 Javier García Casique, is part of the group, which was transferred to El Salvador
 on Saturday as part of a deal between President Nayib Bukele and the Trump
 administration. The Salvadoran leader has offered to hold the Venezuelan migrants
 at the expense of the U.S. government.

 However, Ms. Casique said that not only had her son’s name disappeared from the
 website of U.S. Immigration and Customs Enforcement, she also recognized him in
 one of the photos of the recently arrived deportees that El Salvador’s government
 has circulated. When she saw him in the photograph, she said, she felt “broken at
 the injustice” of what was taking place.

 Neither government has made public the names of the Venezuelan deportees, and
 a spokeswoman for the Salvadoran government did not respond to a request for
 confirmation that Ms. Casique’s son was part of the group. The U.S. Department of
 Homeland Security, which oversees Immigration and Customs Enforcement, did
 not respond to a request to confirm whether Mr. García had been deported to El
 Salvador, either.

 Ms. Casique said she had identified Mr. García by the tattoos on one of his arms, as
 well as by his build and complexion, though his face was not visible. The photo
 shows a group of men in white shirts and shorts with shaved heads, their arms
 restrained behind their backs.

 In recent years, Venezuelans have migrated to the United States in record
 numbers, as their country has spiraled into crisis under the government of Nicolás
 Maduro. Because Mr. Maduro, unlike most other leaders in the region, has not
 accepted regular deportation flights from the United States, the Trump
 administration has been looking for other ways to deport Venezuelans.



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 On Sunday, Venezuela’s government forcefully denounced the transfer of the
 migrants to El Salvador, saying in a statement that the United States had used an
 outdated law — the Alien Enemies Act of 1798 — to carry out an illegal operation
 that violated both American and international laws.

 From the start of his presidential campaign, Mr. Trump has focused on Tren de
 Aragua and its presence in the United States. When he deported a large group of
 Venezuelans last month to Guantánamo, a U.S. military base on Cuba, Mr. Trump
 also said that the deportees belonged to the gang, a claim that some of their
 relatives have denied.

 Neither the United States nor the Salvadoran government has offered evidence
 that the migrants are connected to Tren de Aragua, a gang that originated in
 Venezuela’s prisons but whose reach now extends throughout Latin America. Mr.
 Trump, whose government designated it a terrorist group, has zeroed in on
 incidents that, he said, show the presence of Tren de Aragua in the United States.

 Mr. Bukele said that the deportees would be held for at least a year and made to
 perform labor and attend workshops under a program called “Zero Idleness.”

 Ms. Casique said her son had no gang affiliation and had entered the United States
 to seek asylum in late 2023, after several years spent working in Peru to support
 his family back home. During his journey north, he was injured in Mexico when he
 fell from a train, she said.

 Mr. García, who had turned himself over to the authorities at the U.S. border, was
 detained at a routine appearance before immigration officers last year after they
 spotted his tattoos, Ms. Casique said.

 The tattoos, which she says include a crown with the word “peace” in Spanish and
 the names of his mother, grandmother and sisters, led the authorities to place Mr.
 García under investigation and label him as a suspected member of Tren de
 Aragua, according to Ms. Casique.




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 Mr. García remained in a detention center in Dallas for two months, his mother
 said, but a judge ultimately decided that he did not pose a danger and allowed him
 to be released as long as he wore an electronic device to track his movements.

 The New York Times could not independently verify why he had been held and
 released.

 After Mr. Trump’s inauguration this year, Mr. García became worried, but Ms.
 Casique remembered telling her son that he had nothing to fear: The
 administration said it would go after criminals first.

 But on Feb. 6, the authorities arrived at Mr. García’s door and took him into
 custody.

 “I told him to follow the country’s rules, that he wasn’t a criminal, and at most, they
 would deport him,” Ms. Casique said. “But I was very naïve — I thought the laws
 would protect him.”
 Gabriel Labrador contributed reporting from San Salvador.

 Annie Correal reports from the U.S. and Latin America for The Times. More about Annie Correal




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                EXHIBIT 6
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  Relatives of missing Venezuelan migrants desperate for answers after US deportations to El
  Salvador
  By Sarah Kinosian and Kristina Cooke
  March 17, 2025 7:02 PM PDT · Updated a day ago                                                                                                                                  My News




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  [1/4] Franco Caraballo, 26, a Venezuelan migrant whose family believes he was sent from the United States to a prison in El Salvador, takes a selfie with his wife Johanny Sanchez, in this
  undated handout... Purchase Licensing Rights     Read more




Summary

U.S. provides no details on identities of deported Venezuelans
Rubio says all deportees had been identified as gang members
Woman spots brother in El Salvador prison garb in online images
Relatives protest innocence of family members


  March 17 (Reuters) - Family members of Venezuelan migrants who suspect their loved ones were sent to El Salvador as part of a rapid U.S. deportation
  operation over the weekend are struggling to get more information as a legal battle plays out.
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Advocates have launched a WhatsApp helpline         for people searching for family members, while immigration attorneys have tried to locate their clients
after they went dark.



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In a proclamation    published on Saturday, U.S. President Donald Trump invoked the 1798 Alien Enemies Act to swiftly deport what the White House
said were members of the Venezuelan gang Tren de Aragua. The Trump administration used the authority to deport 137 Venezuelans to El Salvador on
Saturday even as a judge ordered the removals halted, sparking a legal standoff.


The sudden move caused confusion among family members and immigration advocates.

"This chaos is purposeful," said Anilú Chadwick, pro bono director of the advocacy group Together & Free. "They want to exhaust people and exhaust
resources."

The U.S. Department of Homeland Security did not immediately respond to a request for comment.

The Trump administration has provided few details so far on the identities of those who were deported.


But Solanyer Sarabia believes she saw her 19-year-old brother, Anyelo, among images shared online of the Venezuelans deported to El Salvador's mega-
prison. His head had been shaved and he was dressed in white prison garb.

Anyelo had told his sister on Friday night that he would be deported to Venezuela, she said in a phone interview with Reuters from Texas.

Solanyer said her brother had been detained on January 31 after an appointment at a U.S. Immigration and Customs Enforcement office. He had crossed
the U.S.-Mexico border illegally with Solanyer and another sister in November 2023 and had been released to pursue a claim for asylum.


Solanyer said an ICE officer told her that her brother was detained because of a tattoo that linked him to Tren de Aragua, a violent gang with Venezuelan
prison origins that has spread through the Americas. She said the tattoo depicted a rose and that he had gotten it in a tattoo parlor in Dallas.

"He thought it looked cool, looked nice, it didn't have any other significance," she said, stressing that he is not a gang member.


ICE did not immediately respond to a request for comment on Sarabia's case.

"It's extremely disturbing that hundreds of people were flown on U.S. government planes to El Salvador and we still have no information on who they are,
their attorneys were not notified and families are left excruciatingly in the dark," said Lindsay Toczylowski, executive director at the Immigrant Defenders
Law Center.

El Salvador's President Nayib Bukele has gained international attention for his crackdown on gangs in the Central American country. Supporters say his
tactics have driven down violent crime, but rights groups have accused his administration of torture, arbitrary detentions, and other abuses in the
country's prisons.




MISSING




                                                                                                                                                               Feedback
Johanny Sanchez, 22, suspects her husband Franco Caraballo, 26, who was detained in Texas, could now be in El Salvador, but does not know for sure.

Sanchez says Caraballo called her on Friday at around 5 p.m. to tell her he would be deported to Venezuela. He was confused because he had a pending
asylum claim and a court date set for Wednesday.

Sanchez said on Saturday morning she looked him up on an online U.S. government immigration system where detainees' locations are logged and saw
that it said he was no longer listed as being at a detention center.

She spoke with Caraballo's family in Venezuela who told her they had not heard anything. By 7 p.m. on Saturday, she was desperate for information. Then
at around 11 p.m., she saw news reports about deportations from the United States to El Salvador.

ICE did not immediately respond to a request for comment on Caraballo's case.

Caraballo had multiple tattoos including ones of roses, a clock with this daughter's birth time, a lion and a shaving razor, said his wife.

"I've never seen him without hair, so I haven't recognized him in the photos," she said. "I just suspect he's there because of the tattoos that he has and
right now any Venezuelan man with tattoos is assumed to be a gang member", she added, citing also the fact that he has effectively gone missing.

Sanchez said her husband has never been a member of Tren de Aragua.

U.S. Secretary of State Marco Rubio said on Monday that U.S. law enforcement authorities had spent the better part of a year assembling a roster of
known gang members. All the people deported to El Salvador had been on that list, he said.

"If one of them turns out not to be, then they're just illegally in our country, and the Salvadorans can then deport them to Venezuela," Rubio said.
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Reporting by Sarah Kinosian in Mexico City and Kristina Cooke in San Francisco; Writing by Ted Hesson; Editing by Ross Colvin and Rosalba O'Brien


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                Kristina Cooke
                Thomson Reuters

  Kristina Cooke is an investigative reporter with Reuters focused on immigration and criminal justice. She and colleagues
  were Pulitzer Prize finalists for a series on migrant child labor in 2023. Her work has received several journalism awards,
  including a George Polk award, a National Headliner award and an Overseas Press Club award. Originally from Germany,
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Trump invokes 1798 Alien Enemies Act, orders
deportation of suspected Venezuelan gang members
   cbsnews.com/news/trump-invokes-1798-alien-enemies-act

Camilo Montoya-Galvez




Politics
By

Updated on: March 16, 2025 / 6:09 PM EDT / CBS News

President Trump on Saturday invoked the Alien Enemies Act of 1798 to order the swift
detention and deportation of all Venezuelan migrants suspected of being members of the
Tren de Aragua prison gang, treating them like wartime enemies of the U.S. government.

In his proclamation, the president argued the Venezuelan gang was "perpetrating,
attempting, and threatening an invasion or predatory incursion against the territory of the
United States," the legal threshold for invoking the 227-year-old war authority.

The president directed the Departments of Homeland Security and Justice to "apprehend,
restrain, secure, and remove every" Venezuelan migrant, 14 or older, who is deemed to be
part of Tren de Aragua and who lacks U.S. citizenship or permanent residency.

Those subject to the law would be eligible to be summarily arrested, detained and deported,
without any of the due process protections outlined in U.S. immigration law, which include
opportunities to see a judge and request asylum. Instead, they would be treated as enemy


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aliens and processed under America's wartime laws.

But Mr. Trump's directive was dealt an almost immediate blow on Saturday, after a federal
judge agreed to block the government from deporting anyone in U.S. immigration custody
subject to the president's Alien Enemies Act proclamation.

At the request of a lawsuit filed by the American Civil Liberties Union, James Boasberg, chief
judge for the U.S. District Court in Washington, D.C., temporarily blocked those deportations
through a 14-day temporary restraining order. Deportation flights in the air with deportees
subject to Mr. Trump's decree should return to the U.S., Boasberg indicated during a hearing
Saturday evening.

Earlier Saturday, Boasberg issued another order blocking the deportation of five Venezuelan
migrants in immigration detention who the ACLU said were at risk of being expelled under
Mr. Trump's directive.

"We are thrilled the judge recognized the severe harm our plaintiffs would face if removed,"
said Lee Gelernt, the ACLU attorney leading the lawsuit against Mr. Trump's proclamation.
"The President's use of the Alien Enemies Act is flat out lawless."

The Justice Department forcefully denounced the court order. "Tonight, a DC trial judge
supported Tren de Aragua terrorists over the safety of Americans. TdA is represented by the
ACLU," Attorney General Pam Bondi said in a statement. "This order disregards well-
established authority regarding President Trump's power, and it puts the public and law
enforcement at risk."

As Mr. Trump's proclamation was litigated in Washington, the U.S. deported more than 260
migrants to El Salvador over the weekend, including Venezuelans with alleged ties to Tren
de Aragua. Salvadoran President Nayib Bukele posted a video showing some of the
deportees being escorted by armed soldiers and police, having their heads shaved and
marched into a prison.

A senior administration official said 137 of the 261 deportees sent to El Salvador were
alleged Venezuelan gang members expelled under the Alien Enemies Act. Another 101
Venezuelans were deported under regular immigration law, the official said. The group, the
official added, also included 21 Salvadorans accused of MS13 gang membership and two
"special cases" that Bukele described as gang leaders wanted by El Salvador's government.

In a filing on Sunday, the Justice Department said the alleged Venezuelan gang members
"had already been removed from United States territory" under the Alien Enemies Act before
the court order barring the expulsions.




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The White House denied it had defied the judge's order. "The Administration did not 'refuse
to comply' with a court order," White House press secretary Karoline Leavitt said in a
statement. "The order, which had no lawful basis, was issued after terrorist (Tren de Aragua)
aliens had already been removed from U.S. territory."

Leavitt added, "A single judge in a single city cannot direct the movements of an aircraft
carrier full of foreign alien terrorists who were physically expelled from U.S. soil."

Mr. Trump's extraordinary order is breathtaking in its scope and has little precedent in U.S.
history. The law it cites, enacted 22 years after the Declaration of Independence, references
invasions and incursions staged by "any foreign nation or government."

The centuries-old statue has been invoked only a few times in American history, including
during World War I and World War II, when U.S. officials cited it to surveil and detain
foreigners from Italy, Germany and Japan.

But never before has the Aliens Enemies Act been invoked to target migrants from countries
with which the U.S. is not actively at war or with the premise that a non-state actor is staging
an invasion or incursion of the U.S.

Mr. Trump in his order argued Tren de Aragua is "closely aligned" with the repressive
government of Venezuelan President Nicolas Maduro.

"(Tren de Aragua) has engaged in and continues to engage in mass illegal migration to the
United States to further its objectives of harming United States citizens, undermining public
safety, and supporting the Maduro regime's goal of destabilizing democratic nations in the
Americas, including the United States," Mr. Trump said in his order.

     In:
     Venezuela
     Trump Administration

Camilo Montoya-Galvez
Camilo Montoya-Galvez is the immigration reporter at CBS News. Based in
Washington, he covers immigration policy and politics.

   Twitter




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     and this is just a flagrant violation of everything we
     know.”




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     “I’m nauseous. We fight for our clients’ civil rights
     and we’re taught to abide by the Constitution —

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     “It’s like he was kidnapped for nothing more than a
     tattoo. It feels like any Venezuelan immigrant now
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     is labeled as Tren de Aragua."




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